                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:13-cr-128-HSM-SKL
v.                                                    )
                                                      )
                                                      )
JERRY WAYNE ALEXANDER, JR.                            )

                            REPORT AND RECOMMENDATION

        Before the Court are motions to suppress filed by Defendant Jerry Wayne Alexander, Jr.

(“Defendant”) seeking suppression of (1) statements made to law enforcement officers on November

4, 2013, because Defendant allegedly neither received warnings of, nor waived, his rights under

Miranda v. Arizona, 384 U.S. 436, 478-79 (1966); and (2) evidence obtained pursuant to a search

warrant (“Warrant”), because the Warrant allegedly was issued without probable cause due to

staleness [Docs. 125 & 127].1 After considering the evidence and arguments, I RECOMMEND

that Defendant’s motion to suppress the evidence obtained pursuant to the Warrant [Doc. 127] be

DENIED. As the government has now conceded that it will not introduce the statements made by

Defendant on the day of his arrest during its case-in-chief [Doc. 148], I also RECOMMEND that

Defendant’s motion to suppress his statements to law enforcement officers on the date of his arrest,

November 4, 2013 [Doc. 125], be DENIED AS MOOT.




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          Both motions to suppress were referred for a report and recommendation pursuant to 28
U.S.C. § 636(b)(1) [Doc. 132]. Defendant filed a separate memorandum in support of his motion
to suppress evidence obtained as a result of execution of the Warrant [Doc. 128]. The government
filed responses in opposition to the motions [Docs. 138 & 139]. A hearing was held on Defendant’s
motion to suppress his statements on June 17, 2014. Subsequent to the hearing, the government filed
a supplemental response to the motion to suppress statements stating it will not introduce statements
made by Defendant on the day of his arrest during its case-in-chief [Doc. 148].


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I.       BACKGROUND

         United States Magistrate Judge William B. Mitchell Carter issued the Warrant on November

1, 2013, upon application of the government for a search of 538 Gadd Road, Units A and B, Red

Bank, Tennessee. The search warrant application was supported by the affidavit (“Affidavit”) of

Special Agent Derek R. Brown (“Agent Brown”) of the Drug Enforcement Administration.2

Defendant was indicted on a charge that he conspired to manufacture and distribute 280 grams or

more of a mixture and substance containing a detectable amount of cocaine base (“crack”) and five

kilograms or more of a mixture and substance containing a detectable amount of cocaine [Doc. 3].

II.      ANALYSIS

         A.       MOTION TO SUPPRESS STATEMENTS

         The government submits that it will not introduce statements by Defendant to law

enforcement officers on the date of his arrest, November 4, 2013, during its case-in-chief [Doc. 148].

As a result, I RECOMMEND that Defendant’s motion to suppress his statements to law

enforcement officers on November 4, 2013 [Doc. 125], be DENIED AS MOOT.

         B.       SEARCH WARRANT MOTION

         In his motion, Defendant makes a broad and general claim that his constitutional rights were

violated because the Affidavit supporting issuance of the Warrant does not support a finding of

probable cause as it is “stale” and lacks indicia of reliability [Doc. 127]. The supporting

memorandum addresses staleness, noting “previous searches of the premises had not found any

contraband even with closer proximity of reported criminal activity.” [Doc. 128 at Page ID # 304].

During the evidentiary hearing on the now mooted motion to suppress his statements, Defendant


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             The Affidavit is filed in the record [Doc. 127-1].

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clarified that his sole argument for suppression of evidence obtained during the execution of the

Warrant is a claim that the Affidavit did not provide probable cause for the issuance of the Warrant

due to staleness.

                1.      Standards

        The Fourth Amendment states, inter alia, that “no Warrants shall issue, but upon probable

cause, supported by Oath or affirmation, and particularly describing the place to be searched, and

the persons or things to be seized.” U.S. Const. amend. IV. Probable cause to search is “a fair

probability that contraband or evidence of a crime will be found in a particular place.” Illinois v.

Gates, 462 U.S. 213, 238 (1983). Probable cause is determined by evaluating the information

contained within the four corners of the Affidavit supporting the Warrant. See, e.g., United States

v. Dyer, 580 F.3d 386, 390 (6th Cir. 2009) (In reviewing the sufficiency of the evidence supporting

probable cause, the court is “limited to examining the information contained within the four corners

of the affidavit” in light of “the totality of the circumstances.”); United States v. Allen, 211 F.3d 970,

975 (6th Cir. 2000) (“The affidavit is judged on the adequacy of what it does contain, not on what

it lacks, or on what a critic might say should have been added.”).3 A showing of probable cause

“requires only a probability or substantial chance of criminal activity, not an actual showing of such

activity.” Gates, 462 U.S. at 244 n.13.

        Gates adopted a “totality of the circumstances” test for determining whether an affidavit

establishes probable cause for the issuance of a warrant. Id. at 230. In making such a determination,


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           In deciding whether the warrant application contained sufficient facts to support a
reasonable belief in probable cause, a court considers the facts set forth in the affidavit and the facts
presented during the search warrant proceeding to the issuing judicial officer. United States v.
Frazier, 423 F.3d 526, 535-36 (6th Cir. 2005). There is no suggestion in the record that any facts
outside of the Affidavit were presented to Magistrate Judge Carter in this case.

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great deference is accorded to the issuing magistrate’s determination of probable cause. See, e.g.,

United States v. Calloway, 116 F.3d 1129, 1132 (6th Cir. 1997) (determination of probable cause

should not be reversed absent clear error). “[T]he task of a reviewing court is not to conduct a de

novo determination of probable cause, but only to determine whether there is substantial evidence

in the record supporting the magistrate’s decision to issue the warrant.” Massachusetts v. Upton,

466 U.S. 727, 728 (1984). The magistrate must be presented with “sufficient information” to enable

him to determine whether probable cause exists; “his action cannot be a mere ratification of the bare

conclusions of others.” Gates, 462 U.S. at 239. An affidavit supporting the issuance of a search

warrant should be reviewed “in a commonsense, rather than hypertechnical, manner” to determine

probable cause. United States v. Johnson, 351 F.3d 254, 258 (6th Cir. 2003) (citations omitted)

(internal quotation marks omitted).

                2.     The Warrant

        The Affidavit sets forth Agent Brown’s expertise and experience in narcotics trafficking

investigations, general information about the investigation at issue, and the habits of drug traffickers

in general [Doc. 127-1 at ¶¶ 1-4]. The Affidavit details the investigation of a drug conspiracy

operated by one of Defendant’s co-defendants, Lajeromeny L. Brown (“co-defendant Brown”) [id.

at ¶¶ 5-11]. The Affidavit states co-defendant Brown is managing and/or directing the distribution

of heroin and cocaine by Defendant at 538 Gadd Road, Unit B, and is also a source of supply for

Alex Smith who resides at 538 Gadd Road, Unit A [id. at ¶¶ 5-6]. The Affidavit states it utilized

federal and state-authorized intercepts to monitor various phones and other communication devices

and used confidential sources and surveillance to gather extensive information about the wholesale

and retail drug distribution activities of co-defendant Brown and others [id. at ¶¶ 5, 10-21].


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       The Affidavit specifically addresses intercepted communications in July and August of 2013

between co-defendant Brown and Defendant and the resulting surveillance as follows:

              14.    On July 30, 2013, at approximately 10:29 am, monitoring
                     agents intercepted an outgoing telephone call from BROWN,
                     who utilized telephone number (423) 637-9996, to telephone
                     number (423) 402-5256, which was later found to be utilized
                     by Jerry Wayne ALEXANDER Jr, date of birth 03/11/1972.
                     During the intercepted and recorded conversation, BROWN
                     told ALEXANDER to look in the driveway and see if he
                     (ALEXANDER) found anything because BROWN had
                     dropped a “four piece” of “grown man.” Based on other
                     intercepts, monitoring agents believed that BROWN was
                     utilizing coded language to refer to an unknown quantity
                     (“four piece”) of heroin (“grown man”). At that time,
                     investigating agents were unable to determine the location
                     that BROWN and ALEXANDER were speaking of.

              15.    On July 30, 2013, at approximately 2:21pm, monitoring
                     agents intercepted another outgoing call from BROWN to
                     ALEXANDER. During the intercepted and recorded
                     conversation, BROWN asked ALEXANDER if he was at the
                     “house.” ALEXANDER stated that he was not and that he
                     was driving and was near BROWN’s shop (Quantum
                     Automotive, 3410 Campbell Street, Chattanooga, TN).
                     BROWN asked ALEXANDER if he had “anything” with him
                     and ALEXANDER replied that he did not “ride like that.”
                     BROWN asked who was at “the spot,” and ALEXANDER
                     stated that “Alex” was there. BROWN stated that he needed
                     to grab some “work” and asked if “Alex” had it.
                     ALEXANDER then told BROWN to go to the residence and
                     call him (ALEXANDER) when he (BROWN) got there and
                     ALEXANDER would tell BROWN where to find “it.”

              16.    On July 30, 2013, at approximately 2:24pm, monitoring
                     agents intercepted another telephone call between BROWN
                     and ALEXANDER. During the conversation, BROWN told
                     ALEXANDER that he was at the residence, which at that
                     time was still unidentified by investigating agents.
                     ALEXANDER then directed BROWN to go into a bedroom,
                     face the curtains and reach up with his left hand and search
                     the curtains. BROWN responded by saying “Yeah, I got it.”


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               17.    Based on the coded conversation between ALEXANDER
                      and BROWN, investigating agents believed that BROWN
                      needed to re-supply with either cocaine or heroin and that
                      ALEXANDER instructed BROWN where specifically to
                      find the contraband.

               18.    On August 13, 2013, at approximately 1:30pm, monitoring
                      agents intercepted an incoming call from ALEXANDER to
                      BROWN. During the conversation, ALEXANDER told
                      BROWN that he (ALEXANDER) had someone who
                      wanted to spend one hundred dollars and asked BROWN
                      if that was a “g.” Investigating agents know the term “g”
                      is often utilized by drug traffickers to represent a gram
                      quantity. BROWN confirmed that a “g” cost one hundred
                      dollars, and ALEXANDER asked BROWN if he
                      (BROWN) would go out “there” because the person who
                      wanted to spend the hundred dollars was “sick.” BROWN
                      told ALEXANDER that he was on his way. Based on the
                      statement by ALEXANDER that the person who had one
                      hundred dollars was “sick,” investigating agents believed
                      that ALEXANDER was requesting that BROWN deliver
                      an unknown quantity of heroin to him (ALEXANDER).

               19.    On August 13, 2013, at approximately 1:30pm, your
                      Affiant and TBI SA Rodd Watters observed BROWN
                      departing 3410 Campbell Street, Chattanooga, Tennessee
                      in a white Ford pick-up truck bearing Tennessee license
                      plate 293-YBF, which BROWN frequently drives. Your
                      Affiant and SA Watters subsequently followed BROWN to
                      a duplex located at 538 Gadd Road, Red Bank, Tennessee.
                      BROWN pulled into the driveway, which leads to a small
                      parking area in the rear of the duplex. Approximately
                      twenty minutes after arriving, your Affiant and SA Watters
                      observed BROWN pull out of the driveway to 538 Gadd
                      Road. Based on the intercepts and subsequent surveillance,
                      your Affiant believes that BROWN delivered an unknown
                      quantity of heroin to ALEXANDER at 538 Gadd Road.

[Id. at ¶¶ 14-19 (reproduced as in original)].

       In addition to addressing information regarding Unit A and its occupant, Alex Smith, the

Affidavit also describes information that Defendant was residing at Unit B, that controlled


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purchases of crack cocaine were made from Defendant at Unit B, and that surveillance of

Defendant at Unit B all occurred in October of 2013 as follows:

              32.    On October 8, 2013, Det. Dockery informed your Affiant
                     that he had received information from a RBPD confidential
                     source (CS-2) regarding drug trafficking at 538 Gadd
                     Road. CS-2 is cooperating with RBPD for judicial
                     consideration regarding current criminal charges. Det.
                     Dockery reported that CS-2 identified Jerry
                     ALEXANDER, also known as Junior, as selling cocaine,
                     heroin, and marijuana from the duplex. CS-2 identified
                     ALEXANDER's duplex as the unit on the left, if facing the
                     address side of the duplex. CS-2 further stated that
                     ALEXANDER kept his drugs hidden outside of the
                     residence. CS-2 also reported that Alex SMITH, who
                     resides in the duplex on the right, had offered to sell
                     him/her contraband in the past; however, ALEXANDER
                     has intervened and prevented SMITH from selling to CS-2.
                     CS-2 also reported that after the search warrant execution
                     on October 1, 2013, SMITH and ALEXANDER relocated
                     to a hotel for several days; however, both have returned to
                     the residence confident because no drugs were seized
                     during the search warrant.

              33.    On or about October 10, 2013, Det. Dockery conducted
                     surveillance at 538 Gadd Road, Unit B, prior to a
                     controlled purchase of crack cocaine by CS-2 from
                     ALEXANDER in Unit B. Unit B is hereinafter a reference
                     to the duplex on the left, if facing the address side of the
                     duplex. Det. Dockery reported to your Affiant that several
                     times surveillance units observed ALEXANDER walk
                     outside and reach up onto an overhang of the residence and
                     also walk into the wood line behind the residence, where
                     Det. Dockery believes ALEXANDER was retrieving
                     contraband.

              34.    Red Bank Police Department investigators conducted a
                     search of CS-2 to ensure that he/she was not in possession
                     of any contraband with negative results. CS-2 was then
                     provided with Red Bank Police Department official funds
                     for the purpose of making a controlled purchase of crack
                     cocaine from ALEXANDER. CS-2, as witnessed by Det.
                     Dockery, entered 538 Gadd Rd, Unit B. CS-2 exited

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                      shortly thereafter and was met by Det. Dockery at a secure
                      location. CS-2 subsequently transferred custody of
                      approximately .8 grams of suspected crack cocaine to Det.
                      Dockery, which he/she had reportedly purchased from
                      ALEXANDER inside 538 Gadd Rd., Unit B, Red Bank,
                      Tennessee. Detective Dockery reported to your Affiant that
                      in his training and experience, the purchased rock like
                      substance was consistent with crack cocaine. The evidence
                      was sent to the Tennessee Bureau of Investigation for
                      analysis and the results are currently pending.

              35.     On or about October 11, 2013, Det. Dockery utilized CS-2
                      to conduct a second controlled purchase of crack cocaine
                      from ALEXANDER. RBPD investigators conducted a
                      search of CS-2 to ensure that he/she was not in possession
                      of any contraband with negative results. CS-2 was then
                      provided with RBPD official funds and a concealed
                      recording device for the purpose of making a controlled
                      purchase of crack cocaine from ALEXANDER. CS-2, as
                      witnessed by Det. Dockery, entered 538 Gadd Rd., Unit B.
                      Shortly thereafter, Det. Dockery observed CS-2 walk out
                      of Unit B. Investigator Dockery then met with CS-2, where
                      he took custody of approximately .7 grams of suspected
                      crack cocaine which CS-2 reported to have purchased from
                      ALEXANDER inside 538 Gadd Rd., Unit B, Red Bank,
                      Tennessee. Det. Dockery reported to your Affiant that in
                      his training and experience, the purchased rock like
                      substance was consistent with crack cocaine. The evidence
                      was sent to the Tennessee Bureau of Investigation for
                      analysis and the results are currently pending.

[Id. at ¶¶ 32-35 (reproduced as in original). See also ¶¶ 25, 27].

              3.      Probable Cause

       Defendant contends the Affidavit does not provide probable cause to search Unit B




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because information contained in the Affidavit was stale.4 “Whether information contained in

an affidavit is stale must be determined by the circumstances of each case” and depends not

upon an “arbitrary time limitation”; rather, it depends upon the nature of the crime, the criminal,

the place to be searched, and the evidence to be seized. United States v. Spikes, 158 F.3d 913,

923 (6th Cir. 1998) (citations omitted) (internal quotation marks omitted). Even when some

information relied upon by the affiant is determined to be stale, probable cause may be present

if the stale information relates to protracted or continuous conduct, or if the stale information

is corroborated by more recent information. See United States v. Ursery, 109 F.3d 1129, 1133

(6th Cir. 1997); United States v. Henson, 848 F.2d 1374, 1381-82 (6th Cir. 1988). Where the

criminal activity is of an ongoing nature, it takes longer for the information to go stale. United

States v. Greene, 250 F.3d 471, 481 (6th Cir. 2001) (“Evidence of ongoing criminal activity will

generally defeat a claim of staleness. Moreover, where the criminal activity occurred in a

‘secure operational base,’ the passage of time becomes less significant.” (citation omitted)).

           I CONCLUDE under the totality of the circumstances that the Affidavit provides a

substantial basis for Magistrate Judge Carter to have reasonably believed a search of

Defendant’s Unit B would uncover evidence of wrongdoing. The Affidavit provides detailed

information showing an informant (i.e., CS-2) had a firsthand basis of knowledge with regard



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           “Because Fourth Amendment rights are ‘personal,’ . . . the central inquiry in any
suppression hearing is whether the defendant challenging the admission of evidence has shown a
legitimate expectation of privacy in the place searched or the thing seized.” United States v. King,
227 F.3d 732, 743 (6th Cir. 2000) (citing Rakas v. Illinois, 439 U.S. 128, 140 (1978); Katz v. United
States, 389 U.S. 347, 353 (1967); Minnesota v. Olsen, 495 U.S. 91, 96-97 (1990); United States v.
Kincaide, 145 F.3d 771, 779 (6th Cir. 1998)). “Whether a legitimate expectation of privacy exists
in a particular place . . . is a determination to be made on a case-by-case basis.” King, 227 F.3d at
744. It appears undisputed that Defendant had a legitimate expectation of privacy in Unit B.

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to the information provided, and the officers engaged in sufficient corroboration via recent

controlled buys. Among other things, the Affidavit alleges illegal drug-related communications

involving Defendant were caught on a wiretap in July/August and controlled buys of illegal

drugs involving Defendant were made in October, which indicates extensive and continuous

criminal activity. The Affidavit provides probable cause to believe Defendant’s Unit B was

being used as a secure operational base of drug dealing even though the prior execution of a

search warrant at Unit B was not fruitful. Information describing controlled purchases of

controlled substances from Defendant’s Unit B within weeks of the submission of the Affidavit

is hardly stale under the totality of the circumstances. I FIND the Affidavit provides ample

probable cause to believe that drugs and other evidence of drug trafficking would be found in

Unit B at the time Agent Brown submitted his Affidavit to Magistrate Judge Carter. See Spikes,

158 F.3d at 923-24.

       Furthermore, even if, hypothetically, the Warrant were not supported by probable cause,

the circumstances demonstrate law enforcement officers had an “objectively reasonable belief”

that the Warrant was valid. See United States v. Leon, 468 U.S. 897, 918 (1984). I FIND the

Affidavit is not so deficient, if it has any deficiencies at all, that a reasonable officer would not

be justified in relying on the validity of the Warrant. Thus, even if the Affidavit did not support

probable cause for the Warrant, the evidence collected would still not be suppressed under the

Fourth Amendment because the officers acted in good faith in relying on the Warrant. See id.




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III.   CONCLUSION

       I RECOMMEND5 that Defendant’s motion to suppress the evidence obtained pursuant

to a search warrant [Doc. 127] be DENIED and that Defendant’s motion to suppress his

statements to law enforcement officers on November 4, 2013 [Doc. 125], be DENIED AS

MOOT in light of the government’s concession that it will not introduce these statements

during its case-in-chief.



                                              s/fâátÇ ^A _xx
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE




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          Any objections to this report and recommendation must be served and filed within 14 days
after service of a copy of this recommended disposition on the objecting party. Such objections
must conform to the requirements of Rule 59(b)(2) of the Federal Rules of Criminal Procedure.
Failure to file objections within the time specified waives the right to appeal the district court’s
order. Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo
review where objections to this report and recommendation are frivolous, conclusive, or general.
Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for
appellate review. Smith v. Detroit Fed'n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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